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                                                                                 EXHIBIT
                                                                                  0002
                                                                                  Ryan Newman
                                                                                  11.07.2022
                                                                                                     I
Subject:                     Meeting with Larry and Ray
Location:                    EOG Legal

Start:                       Thu 7/28/2022 8:00 AM
End:                         Thu 7/28/2022 9:00 AM
Show Time As:                Tentative

Recurrence:                  (none)

Organizer:                   Newman, Ryan




                                                                                4:22-cv-302-RH-MAF

                                                                              PLAINTIFF'S EX

                                                                                     58
                                                     1
                                                                              DEF 001163



                                                                                        PEX 58.001
